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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                       Richmond Division

 UNITED STATES OF AMERICA                      )
                                               )
               v.                              )      CRIMINAL NO. 3:19-CR-130-MHL
                                               )
 OKELLO T. CHATRIE,                            )
                                               )
               Defendant.                      )


            UNITED STATES’ RESPONSE TO AMICUS CURIAE BRIEF OF
                               GOOGLE LLC
       The United States of America, by its undersigned attorneys, submits this response to the

Amicus Curiae Brief of Google LLC. (ECF No. 59-1.)

                                             ARGUMENT

   I. THE DEFENDANT VOLUNTARILY CONVEYED HIS LOCATION INFORMATION TO GOOGLE.

       Google confirms that the defendant voluntarily conveyed his location information to

Google, even under the demanding standard for voluntary disclosure used by the Supreme Court

in Carpenter v. United States, 138 S. Ct. 2206 (2018). Carpenter held that cell-site information

was not voluntarily conveyed to the phone company because it was collected “without any

affirmative act on the part of the user beyond powering up,” because there was “no way to avoid

leaving behind a trail of location data,” and because carrying a cell phone was “indispensable to

participation in modern society.” Id. at 2220. Google’s description of how its location services

function demonstrates that these factors do not apply to the Location History information obtained

by investigators here.

       First, Google details the multiple steps the defendant was required to take for Google to

collect and store his Location History information:
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       [Location History] functions and saves a record of the user’s travels only when the
       user opts into [Location History] as a setting on her Google account, enables the
       “Location Reporting" feature for at least one mobile device, enables the device-
       location setting on that mobile device, permits that device to share location data
       with Google, powers on and signs into her Google account on that device, and then
       travels with it.

ECF No. 59-1 at 8. Thus, Google’s storage of the defendant’s location information took far more

than him powering up his cell phone: he had to affirmatively opt in multiple times to enable

Google’s collection and storage of his Location History information.

       Second, Google confirms that even after the defendant chose to have Google store his

location information, he retained the ability to delete it: “[t]he user can review, edit, or delete her

Timeline and [Location History] information from Google’s servers at will.” ECF No. 59-1 at 8.

Thus, the defendant could have avoided having Google store his location information, unlike the

cell-site information in Carpenter.

       Third, Google’s description of its location services makes clear that having Google store

Location History information is not indispensable to participation in modern society. As an initial

matter, Google states that “many of Google’s products and services can be used without a Google

account.” ECF No. 59-1 at 5. Google Search is quite useful, but one need not have a Google

account to use Google Search. In contrast, the benefits Google describes from enabling Location

History seem minimal. According to Google, these benefits for an account holder include the

ability to “obtain personalized maps or recommendations based on places she has visited, get help

finding her phone, and receive real-time traffic updates about her commute,” as well as “the ability

to track one’s own movements and enrich one’s electronic footprint.” ECF No. 59-1 at 6-7, 22.

Access to such features is far from indispensable.


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         In sum, the defendant voluntarily disclosed his Location History information to Google

because he opted in to its collection and storage, because he had the ability to edit and delete it,

and because its collection and storage by Google is not indispensable to participation in modern

society. Google is correct when it states that the defendant “errs in asserting that ‘[i]ndividuals do

not voluntarily share their location information with Google.’” ECF No. 59-1 at 9.


   II.      THE DEFENDANT HAD NO REASONABLE EXPECTATION OF PRIVACY IN TWO HOURS
            OF GOOGLE LOCATION HISTORY INFORMATION.


         The Supreme Court “has held repeatedly that the Fourth Amendment does not prohibit the

obtaining of information revealed to a third party and conveyed by him to Government authorities,

even if the information is revealed on the assumption that it will be used only for a limited purpose

and the confidence placed in the third party will not be betrayed.” United States v. Miller, 425

U.S. 435, 443 (1976). This principle did not control in Carpenter because the Court concluded

that cell-site information “is not truly ‘shared’ as one normally understands the term.” Carpenter,

138 S. Ct. at 2220. In addition, Carpenter held only that “accessing seven days of [cell-site

information] constitutes a Fourth Amendment search.” Id. at 2217 n.3. Here, the defendant

voluntarily conveyed his location information to Google under the reasoning of Carpenter, and

investigators obtained only two hours of that information, rather than a “comprehensive chronicle

of the user’s past movements.” Id. at 2212. Google’s disclosure of location information therefore

was not a Fourth Amendment search.

         Google’s arguments that disclosure of two hours of the defendant’s location information

was a Fourth Amendment search lack merit. Google points out that Location History information

is more precise than cell-site information, and it argues that Location History information therefore
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implicates greater privacy interests than cell-site information. See ECF No. 59-1 at 10, 20. But as

the United States explained in its Response Brief, the Supreme Court in Carpenter assumed that

cell phone location information would approach the precision of GPS, so the greater accuracy of

Google location information provides no basis for giving it enhanced Fourth Amendment

protection. See Carpenter, 138 S. Ct. at 2218-19; ECF No. 21 at 8-9. In Carpenter, the Supreme

Court found that a cell phone user had a reasonable expectation of privacy in “the whole of his

physical movements.” Carpenter, 138 S. Ct. at 2219. A two-hour interval of location information

cannot meet this standard, regardless of the accuracy of individual points within the interval.

       Google also argues that a warrant should be required for Location History information

because when Google responds to a GeoFence warrant, it must “search across all Google users for

their [Location History] information.” ECF No. 59-1 at 23. Similarly, it notes that a GeoFence

warrant “is not tied to any known person, user, or account.” Id. at 11. These facts, however, do

not distinguish GeoFence warrants from other forms of legal process that do not involve Fourth

Amendment searches or require a warrant. For example, tower dumps are not tied to any known

person, user, or account, but a tower dump is not a Fourth Amendment search. See United States

v. Adkinson, 916 F.3d 605, 611 (7th Cir. 2019).

       Moreover, service providers commonly review large sets of customer records to produce

information in response to appropriately limited legal process. For example, in the traditional

telephone context, investigators use subpoenas to identify the people who placed calls to a

specified telephone number. Obtaining this information is not a search under Smith v. Maryland,

442 U.S. 735, 742-44 (1979), which held that telephone users voluntarily convey dialed phone

number information to the phone company. A phone company responding to this sort of subpoena,

however, may review call records for all of its customers to find this information. See Ameritech



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Corp. v. McCann, 403 F.3d 908, 910 (7th Cir. 2005).

        Similarly, the United States often uses a “specific and articulable facts” court order issued

pursuant to 18 U.S.C. § 2703(d) to compel Google to disclose identity information for subscribers

who accessed their Google accounts from a specified IP address during a particular time period.

Internet users have no reasonable expectation of privacy in their IP address, see United States v.

Wellbeloved-Stone, 777 F. App’x 605, 607 (4th Cir. June 13, 2019), so use of this investigative

technique is not a search. Responding to such a court order, however, requires Google to review

access records for all of its account holders. These examples demonstrate that a service provider’s

response to appropriately limited legal process does not become a search merely because the

service provider must review a large set of records to find the responsive information. 1

        Google further asserts that the defendant retains a reasonable expectation of privacy in

Google Location History information because it “is not compiled ‘for . . . business purposes.’”

ECF No. 59-1 at 22. As an initial matter, however, Google’s Brief does not actually claim that

Google does not use customer location information for its business purposes. Google states that

location information is stored “primarily” for the user’s benefit, ECF No. 59-1 at 8, but that

formulation suggests that customer location information is also used for Google’s business

purposes. Google should clarify the extent to which it uses and benefits from customer location

information, including both Location History information and any other Google databases that


    1
       It would also be possible for Google to create an additional database of Location History
information that would obviate its need to review the Location History information of all customers in
response to a GeoFence warrant. Google could create a database that indexed Location History
information based on its location in some sort of cellular grid. When Google received a GeoFence
warrant, it would then need to review only location data from the relevant cell or cells, much like a tower
dump. This possibility provides further evidence that producing GeoFence information does not become
a search merely because Google reviews a large set of customer records: whether Google’s production of
GeoFence information constitutes a search for Fourth Amendment purposes should not depend on the
internal structure of Google databases.


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store location information pertaining to account holders. 2

        Moreover, even Google’s limited discussion of its use of account holder location

information shows that Google does in fact use that information for a “business purpose.” Google

compares location information to email, see ECF 59-1 at 22, but when an email service provider

sends, receives, and stores email, it need not review or use the contents of the email. In contrast,

Google’s use and analysis of customer location information is essential to the location services it

provides. For example, Google acknowledges that it uses account holder location information to

provide “real-time traffic updates.” ECF 59-1 at 7. This service requires Google to analyze

location information sent to it by its customers and share the results of its analysis with other

nearby customers. When a business uses information supplied by a customer to provide services,

the customer retains no reasonable expectation of privacy in that information. For example, an

individual retains no reasonable expectation of privacy in personal financial records shared with

an accountant. See Couch v. United States, 409 U.S. 322, 335-36 (1973).

        In addition, the principle that one retains no reasonable expectation of privacy in

information revealed to a third party has never been limited to business records. For example, this

principle applies to incriminating statements made in the presence of an informant. See Hoffa v.

United States, 385 U.S. 293, 413-14 (1966). More generally, the roots of the third-party doctrine

long predate United States v. Miller and Smith v. Maryland. It is an “ancient proposition of law”

that the public “has a right to every man’s evidence.” United States v. Nixon, 418 U.S. 683, 709

(1974). The Supreme Court has recognized that “as early as 1612, . . . Lord Bacon is reported to

have declared that ‘all subjects, without distinction of degrees, owe to the King tribute and service,


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      Google states that “[Location History] information was the only location information produced to
the government in response to this geofence warrant,” but it does not address whether it stores other
databases containing location information. ECF No. 59-1 at 9.


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not only of their deed and hand, but of their knowledge and discovery.’” Blair v. United States,

250 U.S. 273, 279-280 (1919) (quoting Countess of Shrewsbury Case, 2 How. St. Tr. 769, 778

(1612)). In this case, Google’s role is fundamentally that of a witness: Google observed the

location of people present at the robbery, and the government called upon it to disclose its

observations. Allowing litigants to obtain information from witnesses is critical to the truth-

seeking function of the justice system: “[t]he need to develop all relevant facts in the adversary

system is both fundamental and comprehensive. The ends of criminal justice would be defeated

if judgments were to be founded on a partial or speculative presentation of the facts.” Nixon, 418

U.S. at 709. It was not a search when Google revealed its observations to investigators.


   III.      THIS COURT NEED NOT ADDRESS GOOGLE’S INTERPRETATION OF THE STORED
             COMMUNICATIONS ACT.

          This Court need not consider Google’s argument that as a statutory matter, the Stored

Communications Act (“SCA”) requires a warrant to compel Google to disclose location

information. See 18 U.S.C. §§ 2701-13; ECF No. 59-1 at 14-18. Investigators in this case obtained

a warrant for the defendant’s location information, and his motion to suppress is based solely on

his allegation of a Fourth Amendment violation, not a statutory violation. If the United States ever

attempted to compel Google to disclose GeoFence information via a “specific and articulable

facts” court order issued pursuant to 18 U.S.C. § 2703(d), Google would then have the opportunity

to challenge that order.

          Another reason why this Court need not consider the SCA here is because the SCA

provides no suppression remedy for a statutory violation. The SCA includes criminal penalties

and civil damages for certain types of violations of the SCA, see 18 U.S.C. §§ 2701 & 2707, and

it further specifies that “the remedies and sanctions described in this chapter are the only judicial



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remedies and sanctions for nonconstitutional violations of this chapter.” 18 U.S.C. § 2708. Courts

have thus held that statutory violations of the SCA do not result in suppression. See United States

v. Guerrero, 768 F.3d 351, 358 (5th Cir. 2014) (“suppression is not a remedy for a violation of the

[SCA]”); United States v. Smith, 155 F.3d 1051, 1056 (9th Cir. 1998) (“the [SCA] expressly rules

out exclusion as a remedy”). Thus, even if the defendant were to allege a violation of the SCA

here, the appropriate focus for this Court would still be the defendant’s Fourth Amendment

argument.

       The United States notes, however, that there is some reason to doubt Google’s analysis of

how the SCA applies to Google location information. For one example, Google argues that under

the SCA, Google location information “qualifies as ‘contents’ of ‘electronic communications.’”

ECF No. 59-1 at 16. But Google selectively quotes only a portion of the definition of “electronic

communication.” Google states: “The SCA defines an ‘electronic communication’ as a ‘transfer

of signs, signals, writing, images, sounds, data, or intelligence of any nature transmitted in whole

or in part’ by an electronic system.’”    Id. (quoting 18 U.S.C. § 2510(12)). Google ignores a

potentially significant exclusion from this definition: the definition excludes “any communication

from a tracking device (as defined in section 3117 of this title).” 18 U.S.C. § 2510(12)(C). Google

elsewhere states that Google’s location services give one “the ability to track one’s own

movements,” which suggests that a user who opts in to Google Location History may be using a

tracking device. See 18 U.S.C. § 3117 (defining a “tracking device” to mean “an electronic or

mechanical device which permits the tracking of the movement of a person or object”). If the

location information users send to Google is a communication from a tracking device, the location

information could not be the contents of an electronic communication. Again, however, because

interpreting the SCA is not necessary to resolve the defendant’s suppression motion, this Court



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should not address the SCA here.

                                         CONCLUSION

       Google confirms that the defendant voluntarily conveyed his location information to

Google. This Court should deny the defendant’s motion to suppress the fruits of the GeoFence

warrant.

                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of January, 2020, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send an electronic

notification of such filing to the following:

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